 1                                                              HON. JUDGE RICHARD A. JONES

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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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 8     CHRISTOPHER RICHARD CHAPIN,
                                                        No. 2:19-cv-01256
 9                  Plaintiff,
                                                        REPLY DECLARATION OF
10     v.                                               MCKEAN J. EVANS IN SUPPORT OF
                                                        CHAPIN’S MOTION FOR AWARD
11     THE PRUDENTIAL INSURANCE                         OF ATTORNEYS’ FEES, COSTS,
       COMPANY OF AMERICA, MICROSOFT                    AND INTEREST
12     CORPORATION, and the MICROSOFT
       CORPORATION WELFARE PLAN,
13

14                  Defendants.

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16          MCKEAN J. EVANS makes the following declaration based on personal knowledge:

17          1.     I am over 18 years of age. I am competent to testify. The facts contained in this
18   Declaration are based on my personal knowledge, unless stated otherwise.
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            2.     I am the attorney representing Plaintiff Chapin in this matter.
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            3.     Attached hereto as Exhibit A is the April 28, 2021 Order Granting Plaintiffs’
21
     Motion and Declaration for Attorneys’ Fees, Kukoleca v. All New Again LLC, Case No. 20-2-
22
     16267-1 SEA (King Cty. Super. Ct.).
23

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25
      REPLY DECLARATION OF MCKEAN J.                                     R U I Z & S M A R T P L LC
      EVANS IN SUPPORT OF CHAPIN’S                                           1200 Fifth Ave., Ste. 1220
      MOTION FOR AWARD OF ATTORNEYS’                                            Seattle, WA 98101
      FEES, COSTS, AND INTEREST                                        Tel. 206‐203‐9100 Fax 206‐785‐1702
      (No. 2:19-cv-01256) - 1
 1          4.      I incurred 8.2 hours preparing the reply brief in support of Chapin’s Motion for

 2   Award of Attorneys’ Fees, Costs, and Expenses. This time is memorialized in contemporaneous

 3   electronic time records and is reflected in Exhibit B hereto.
 4          I declare under penalty of perjury of the laws of the State of Washington and the
 5
     laws of the United States of America that the foregoing is true and correct.
 6
            Dated April 30, 2021, at Seattle, Washington.
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 8
            s/ McKean J. Evans
 9          MCKEAN J. EVANS

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      REPLY DECLARATION OF MCKEAN J.                                     R U I Z & S M A R T P L LC
      EVANS IN SUPPORT OF CHAPIN’S                                           1200 Fifth Ave., Ste. 1220
      MOTION FOR AWARD OF ATTORNEYS’                                            Seattle, WA 98101
      FEES, COSTS, AND INTEREST                                        Tel. 206‐203‐9100 Fax 206‐785‐1702
      (No. 2:19-cv-01256) - 2
EXHIBIT A
 1                                                                  THE HON. BRIAN MCDONALD
                                                                    Noted for decision: April 29, 2021
 2                                                                             Without oral argument

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         SUPERIOR COURT OF THE STATE OF WASHINGTON FOR KING COUNTY
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 9     DALIBOR KUKOLECA and
       GWENDOLYN KUKOLECA,                                No. 20-2-16267-1 SEA
10
                      Plaintiffs,                         ORDER GRANTING PLAINTIFFS’
11                                                        MOTION AND DECLARATION FOR
       v.                                                 ATTORNEYS’ FEES
12
       ALL NEW AGAIN LLC, a Washington
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       limited liability company,
14
                      Defendant.
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16           THIS MATTER having come on duly and regularly before the Court upon Plaintiffs’

17   Motion and Affidavit for an Award of Attorneys’ fees from Defendant All New Again, LLC
18   (“ANA”). The Court having reviewed the motion, ANA’s response, Plaintiffs’ reply, the
19
     pleadings and records herein, and otherwise being duly informed in the premises; now,
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     therefore, it is hereby
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             ORDERED, ADJUGED, AND DECREED that:
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             1.      Plaintiffs motion to compel is GRANTED;
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             2.      The Court finds that Plaintiffs reasonably incurred 4.5 hours of attorney time in
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     connection with bringing their motion to compel discovery and preparing their fee motion.
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26    ORDER GRANTING PLAINTIFFS’                                           R U I Z & S M A R T P L LC
      MOTION AND DECLARATION FOR                                               1200 Fifth Ave., Ste. 1220
27    ATTORNEYS’ FEES No. 20-2-16267-1 SEA                                        Seattle, WA 98101
      (No. ) - 1                                                         Tel. 206-203-9100 Fax 206-785-1702

28
 1          3.      The Court finds that Plaintiffs reasonably incurred an additional 1.2 hours of

 2   attorney time in preparing their reply brief in support of their fee motion.

 3          4.      The Court finds that Plaintiffs reasonably incurred $64.98 in costs in connection
 4   with the above.
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            5.      The Court finds that the hourly rate of $475 is reasonable in light of Attorney
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     McKean J. Evans’ qualifications, skill and experience.
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            6.      The Court awards attorneys’ fees and costs to the Plaintiffs in the amount of
 8
     $2772.48.
 9
            7.      ANA shall pay the fee and cost award to Plaintiffs’ counsel within seven days.
10
            IT IS SO ORDERED.
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            Dated this ______ day of ________, 2021.
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                                                   ________________________________
14
                                                   The Honorable Brian McDonald
                                                   King County Superior Court Judge
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26    ORDER GRANTING PLAINTIFFS’                                           R U I Z & S M A R T P L LC
      MOTION AND DECLARATION FOR                                               1200 Fifth Ave., Ste. 1220
27    ATTORNEYS’ FEES No. 20-2-16267-1 SEA                                        Seattle, WA 98101
      (No. ) - 2                                                         Tel. 206-203-9100 Fax 206-785-1702

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                            King County Superior Court
                         Judicial Electronic Signature Page

Case Number:        20-2-16267-1
Case Title:         KUKOLECA vs ALL NEW AGAIN

Document Title:     ORDER


Signed By:          Brian McDonald
Date:               April 28, 2021




Judge:              Brian McDonald




This document is signed in accordance with the provisions in GR 30.
Certificate Hash:           EB2FC2BCB5DEBEA152D5B8D72B65DAFD8D8A64C1
Certificate effective date: 9/9/2019 6:12:37 PM
Certificate expiry date:    9/9/2024 6:12:37 PM
Certificate Issued by:      C=US, E=kcscefiling@kingcounty.gov, OU=KCDJA,
                            O=KCDJA, CN="Brian McDonald:
                            ylMMEpRJ6RGYICi3jC1lQQ=="


                                                                      Page 3 of 3
EXHIBIT B
Exhibit B to Reply Evans Declaration                                                                          Page 1 of 1

Date          Time-keeper         Rate          Hours      Value          Description

  04/27/21    McKean J. Evans          475.00     0.80       $380.00      Outline reply re fee petition

  04/27/21    McKean J. Evans          475.00     1.10       $522.50      Review opposition to fee petition

  04/28/21    McKean J. Evans          475.00     3.40      $1,615.00     draft reply re fee motion

  04/30/21    McKean J. Evans          475.00     2.90      $1,377.50     Draft reply brief re fee petition
TOTAL                                               8.20      $3,895.00
